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7
8                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
9
10   BRIAN WHITAKER                            ) Case No.: 2:20-cv-10886-FMO-AS
                                               )
             Plaintiff,                        )
11
                                               ) NOTICE OF SETTLEMENT AND
       v.                                      ) REQUEST TO VACATE ALL
12
     KIKUE OTA, in individual and              ) CURRENTLY SET DATES
13   representative capacity as trustee of the )
     Kikue Ota Living Trust;                   )
14   RESTAURANTE JUQUILA INC., a               )
     California Corporation                    )
15                                             )
             Defendants.                       )
16                                             )
           The plaintiff hereby notifies the court that a provisional settlement has been
17
     reached in the above-captioned case. The Parties would like to avoid any additional
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     expense while they focus efforts on finalizing the terms of the settlement and reducing it
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     to a writing.
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            The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
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     dates with the expectation that the settlement will be consummated within the coming
22
     sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice as to all
23
     parties to be filed.
24
                                      CENTER FOR DISABILITY ACCESS
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26
     Dated: February 10, 2021                By: /s/ Amanda Seabock
27                                           Amanda Seabock
28                                           Attorney for Plaintiff


     Notice of Settlement             -1-               2:20-cv-10886-FMO-AS
